  Case 2:23-cv-01606-KJM-CKD Document 77 Filed 01/07/25 Page 1 of 21



                                        IN THE
                      UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF CALIFORNIA

ERIC JAMES BAGNALL,
individually, and as Administrator of the
ESTATE OF
CAMREN MCKAY BAGNALL



                      Plaintiff,                      Docket No.

                                                      2:23−CV−01606−KJM−CKD

V.

CALIFORNIA STATE UNIVERSITY
MARITIME, et. al.,


                Defendants.


                                   NOTICE OF APPEAL


       Notice is hereby given that, plaintiff ERIC JAMES BAGNALL,

individually, and as Administrator of the ESTATE OF CAMREN MCKAY BAGNALL,

plaintiff in the above-captioned case, hereby appeal to the UNITED STATES COURT OF

APPEALS FOR THE NINETH CIRCUIT, from the Final Judgment entered by The

Honorable Kimberly J. Mueller, December 9, 2024.          (A copy of the Judgment,

Order/Decision, and Docket are attached.)
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                                   Respectfully Submitted,


DATED:        January 7, 2025      s/ Mark N. Franklin, Esq.
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                            CERTIFICATE OF SERVICE


       This is to certify that on January 7, 2025, a copy of the foregoing Notice of Appeal

was sent to all parties/counsel via the ECF System.

                                          ___s/ Mark N. Franklin, Esq.______
                                             MARK N. FRANKLIN
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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA




                                                          JUDGMENT IN A CIVIL CASE
ERIC JAMES BAGNALL,

                                                       CASE NO: 2:23−CV−01606−KJM−CKD
                   v.

CALIFORNIA STATE UNIVERSITY
MARITIME, ET AL.,




    Decision by the Court. This action came before the Court. The issues have been tried,
    heard or decided by the judge as follows:

    IT IS ORDERED AND ADJUDGED

       THAT JUDGMENT IS HEREBY ENTERED IN ACCORDANCE WITH THE
       COURT'S ORDER FILED ON 12/6/2024




                                                    Keith Holland
                                                    Clerk of Court


   ENTERED: December 9, 2024


                                    by: /s/ V. Kyono
                                                         Deputy Clerk



                                     Exhibit "A"
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 8                             UNITED STATES DISTRICT COURT

 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   Eric James Bagnall, individually, and as              No. 2:23-cv-01606-KJM-CKD
     Administrator of the Estate of Camren McKay
12   Bagnall,                                              ORDER
13
                               Plaintiff,
14
             v.
15
     California State University Maritime, et al.,
16
                               Defendants,
17

18          Defendants Board of Trustees of the California State University (CSU) and Vineeta
19   Dhillon move to dismiss plaintiff’s claims and plaintiff opposes or in the alternative requests

20   leave to conduct discovery and amend his complaint. The court grants the motion to dismiss and
21   denies the request for leave to amend.

22   I.     BACKGROUND

23          Plaintiff Eric James Bagnall filed suit against defendants following the suicide of his son,
24   Camren McKay Bagnall, while Camren was the subject of a Title IX investigation at CSU
25   Maritime. As detailed in this court’s previous order, see Prev. Order (March 12, 2024), ECF
26   No. 49, Camren was a student at CSU Maritime. Third Am. Compl. (Compl.) ¶ 14, ECF No. 38.
27   In or around September 2020, fellow student Lillian Gregg filed a Title IX complaint against



                                                     1



                                            Exhibit "B"
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1    Camren alleging sexual misconduct and sexual assault. Id. ¶¶ 4, 17, 26. Camren denied these

2    allegations. Id. ¶ 27.
 3          Following Ms. Gregg’s filing of the Title IX complaint, CSU’s Title IX office initiated an
 4   investigation. Id. ¶¶ 29, 32, 61, 69. Plaintiff alleges Camren suffered harassment and bullying
 5   from his peers as news of the complaint spread. Id. ¶¶ 53–60. On February 8, 2021, Camren

 6   committed suicide. Id. ¶¶ 1, 16.

 7          On November 3, 2023, defendants moved this court to dismiss plaintiff’s complaint for

 8   failure to state a claim under Federal Rule of Civil Procedure 12(b)(6). Prev. Mot. (November 3,
 9   2023), ECF No. 39. The court granted defendants’ November 3 motion in part and denied it in
10   part. See generally Prev. Order. The court also granted plaintiff leave to amend all claims except
11   his Title IX claim as to defendant Vineeta Dhillon, which the court dismissed without leave to

12   amend. See id. at 8. The court explicitly detailed the deficiencies plaintiff needed to correct to
13   survive a future motion to dismiss. See generally id. Plaintiff amended the complaint. See
14   generally Compl. Defendants move again to dismiss. Mot., ECF No. 51. The motion is fully

15   briefed, with plaintiff opposing dismissal or alternatively requesting discovery and a chance to
16   further amend. Opp’n, ECF No. 53; Reply, ECF No. 54.

17          The court held a hearing on this matter on July 12, 2024. See Mins. Mot. Hr’g, ECF No.
18   59. Jason Sias appeared for plaintiff and Adam Karr appeared for defendants. Id. At hearing,
19   plaintiff's counsel, who had only recently assumed primary responsibility for this matter,

20   requested an extension of time to determine whether plaintiff could further amend the complaint
21   if the court granted the motion to dismiss; defense counsel contended any amendment would be

22   an exercise in futility. See id. The court instructed the parties to meet and confer and file a joint
23   status report regarding whether the parties requested further argument, an opportunity to file

24   supplemental briefing, or further scheduling. See id. The parties filed their joint status report,

25   which stated plaintiff expected to retain new counsel who would contend on his behalf that a

26   fourth amendment would not be futile. See generally Joint Status Report (July 26, 2024), ECF
27   No. 60. New counsel then appeared for plaintiff, and the parties filed a supplemental joint status

28   report. See Min. Order (August 20, 2024), ECF No. 68; Suppl. Joint Status Report, ECF No. 67.

                                                       2



                                          Exhibit "B"
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 1   Plaintiff’s new counsel believes a fourth amendment would not be futile if the court grants the
 2   motion to dismiss; defendants’ counsel disagrees. Given the substitution of plaintiff’s attorney,
 3   the court granted plaintiff leave to file a supplemental brief to support his request for leave to
 4   amend. See Min. Order. Plaintiff filed his supplemental brief on November 13, 2024, while the
 5   motion to dismiss remained pending. Suppl. Brief, ECF No. 70. On November 26, 2024,
 6   defendants filed an unauthorized supplemental brief in opposition. Suppl. Brief Opp’n, ECF
 7   No. 74. Because defendants did not seek court approval before filing their brief, the court does
 8   not consider the brief in this order.
 9           Plaintiff’s supplemental brief proposes in an amended complaint to abandon all previous
10   state law claims, rehabilitate a Title IX claim against CSU by adding additional allegations of
11   background indicia of sex discrimination (claim VII), and introduce six new claims (new claims
12   II–VII). See generally id. Plaintiff’s brief does not, however, concede the motion to dismiss

13   should be granted. Id. This court previously dismissed the Title IX claim (claim VII) for
14   “tortious conduct of defendants John Does 1–10 and ABC Entities 1–10” with prejudice and
15   without leave to amend as to defendant Dhillon but with leave to amend as to CSU. Prev. Order
16   (Mar. 12, 2024) at 2, 8. Plaintiff’s new proposed claims include a Title IX claim against
17   defendants1 alleging sex discrimination, procedural due process and equal protection claims and

18   unconstitutional failure to train and supervise claims. See Suppl. Brief at 4–5.

19   II.     LEGAL STANDARDS
20           A.      Motion to Dismiss

21           As explained in detail in this court’s earlier order, a party may move to dismiss for

22   “failure to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). In response,
23   the court begins by assuming the complaint’s factual allegations are true, but not its legal



             1
               Plaintiff’s brief offers no clarity regarding which defendants he intends to bring the new
     proposed claims against. The court’s previous orders explained that “Title IX does not create a
     private right of action against school officials, teachers, and other individuals who are not direct
     recipients of federal funding.” Al-Rifai v. Willows Unified Sch. Dist., 469 F. App’x 647, 649 (9th
     Cir. 2012) (citation omitted). As such, the court construes plaintiff’s proposed amendments to not
     include Title IX claims against Dhillon or any other individual.

                                                       3



                                             Exhibit "B"
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1    conclusions. Ashcroft v. Iqbal, 556 U.S. 662, 678–79 (2009) (citing Bell Atl. Corp. v. Twombly,
2    550 U.S. 544, 555 (2007)). The court then determines whether those factual allegations
3    “plausibly give rise to an entitlement to relief” under Rule 8. Id. at 679. This evaluation of
4    plausibility is a context-specific task drawing on “judicial experience and common sense.” Id.

5           B.      Leave to Amend

6           Federal Rule of Civil Procedure 15(a)(2) provides, “[t]he court should freely give leave

7    [to amend its pleading] when justice so requires,” and the Ninth Circuit has “stressed Rule 15’s

 8   policy of favoring amendments.” Ascon Properties, Inc. v. Mobil Oil Co., 866 F.2d 1149, 1160

 9   (9th Cir.1989). “In exercising its discretion [regarding granting or denying leave to amend] ‘a

10   court must be guided by the underlying purpose of Rule 15—to facilitate decision on the merits

11   rather than on the pleadings or technicalities.’” DCD Programs, Ltd. v. Leighton, 833 F.2d 183,

12   185–86 (9th Cir. 1987) (quoting United States v. Webb, 655 F.2d 977, 979 (9th Cir. 1981)).

13   However, “the liberality in granting leave to amend is subject to several limitations. Leave need

14   not be granted where the amendment of the complaint would cause the opposing party undue

15   prejudice, is sought in bad faith, constitutes an exercise in futility, or creates undue delay.” Ascon

16   Properties, 866 F.2d at 1160 (internal citations omitted).

17          Not all the factors merit equal weight, and prejudice to the opposing party carries the

18   greatest weight. Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003).

19   Generally, additional claims result in prejudice to a defendant when plaintiff has substantially

20   delayed requesting leave to amend. See, e.g., United States v. Pend Oreille Public Utility Dist.

21   No. 1, 28 F.3d 1544, 1522–53 (9th Cir. 1994); Morongo Band of Mission Indians v. Rose,

22   893 F.2d 1074, 1079 (9th Cir. 1990). In addition, a court should look to whether plaintiff has

23   previously amended the complaint, as the court’s “discretion is especially broad ‘where the court

24   has already given plaintiff one or more opportunities to amend [its] complaint.’” Ascon, 866 F.2d

25   at 1161 (quoting Leighton, 833 F.2d at 186 n.3). While the court’s discretion is broad, it is
26   ultimately the non-movant’s burden to show leave to amend should be denied. See Leighton,
27   833 F.2d at 187.



                                                      4



                                         Exhibit "B"
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 1   III.   ANALYSIS
 2          A.      Motion to Dismiss

 3          Defendant moves to dismiss plaintiff’s third amended complaint for failure to state a claim
 4   under Federal Rule 12(b)(6). See Mot. To succeed on his state law claims, plaintiff must allege
 5   compliance with the claim presentation requirement of the California Government Claims Act.
 6   See Gen. Sec. Servs. Corp. v. Cnty. of Fresno, 815 F. Supp. 2d 1123, 1131 (E.D. Cal. 2011);
 7   Cal. Gov’t Code §§ 911.2, 945.4. Plaintiff does not allege compliance and concedes he did not
 8   comply in his opposition. See generally Compl.; Opp’n at 11. Plaintiff does not seek to amend
 9   these state law claims. Id. Plaintiff’s state law claims (claims I–IV) are therefore dismissed.
10          Plaintiff also fails to state a claim under Title IX. Plaintiff alleges no background indicia
11   of sex discrimination in combination with specific information about plaintiff’s Title IX
12   disciplinary case and investigation. See, e.g., Doe, 23 F.4th at 936. Plaintiff concedes as much in
13   opposition and his supplemental briefing. See generally Compl.; see Opp’n at 6. Plaintiff’s
14   remaining Title IX claims against CSU are therefore dismissed.

15          B.      Leave to Amend

16   Turning, then, to plaintiff’s request for leave to amend, the court proceeds with an analysis of the

17   factors outlined in Federal Rule of Civil Procedure 15(a): bad faith, prejudice, undue delay and

18   futility. See Foman v. Davis, 371 U.S. 178, 182 (1962). Plaintiff addresses only futility,

19   disposing of the other factors by stating “there has been no bad faith, undue delay, or undue

20   prejudice.” See Suppl. Brief. at 2. While the court accepts that there is no evidence plaintiff's

21   motion to amend is sought in bad faith, it cannot as quickly dispose of the question whether an

22   amendment would cause undue delay and prejudice to defendants.

23                  1.      Prejudice & Undue Delay

24   In evaluating prejudice—the factor carrying the most weight in a 15(a) analysis—the court finds

25   defendants are likely to be prejudiced by granting leave to amend as plaintiff proposes.

26   Moreover, the court finds plaintiff’s failure to assert his new claims in any of his three previous

27   amended complaints constitutes undue delay despite plaintiff’s substitution of counsel. See, e.g.,

28   Melbye v. Accelerated Payment Techs., Inc., No. 10-CV-2040-IEG JMA, 2011 WL

                                                      5



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 1   6754088, at *2 (S.D. Cal. 2011) (declining to find plaintiff’s substitution of counsel demonstrated
 2   requisite “good cause” necessary to justify leave to amend).
 3          Plaintiff’s proposal to add six new federal claims for the first time would likely alter the
 4   nature of the litigation and require a new defense strategy. Plaintiff’s proposal to pursue multiple
 5   claims under 42 U.S.C. § 1983 is a significant departure from the initial complaint, which focused
 6   primarily on state law claims and a single federal claim under Title IX. See Suppl. Brief at 4–5.
 7   This pivot is not necessarily fatal but does cut against granting leave to amend. See, e.g., Rose,
 8   893 F.2d at 1079 (considering addition of new claims to “enter[] into the balance,” despite “not
 9   [being] fatal to amendment”).
10          Beyond prejudice, plaintiff’s proposed amendment would cause undue delay. While Rule
11   15 is “applied with extreme liberality,” id., the court cannot continue to delay this proceeding
12   unduly. Plaintiff does not explain—or even acknowledge—why these claims were not previously
13   asserted. Considering this court granted plaintiff multiple opportunities to amend previously and
14   plaintiff has provided no explanation for not asserting proposed new claims I through VI earlier,
15   granting further leave to add entirely new federal claims would run afoul of the undue burden and

16   prejudice factors of Rule 15.

17                  2.      Futility

18          Finally, the court must consider whether plaintiff’s proposed amendment of his previously

19   asserted Title IX claim would be an “exercise in futility.” Foman, 371 U.S. at 182. The court

20   evaluates futility by evaluating whether the amended complaint would constitute a valid and

21   sufficient pleading. Sweaney v. Ada County, Idaho, 119 F.3d 1385, 1393 (9th Cir. 1997).

22   Evaluating plaintiff’s proposed rehabilitation of his Title IX claim against CSU, the court bears in

23   mind he “must plead that: (1) the defendant educational institution[] receives federal funding;

24   (2) the plaintiff was excluded from participation in, denied the benefits of, or subjected to

25   discrimination under any education program or activity, and (3) the latter occurred on the basis of

26   sex.” Schwake v. Arizona Bd. of Regents, 967 F.3d 940, 946 (9th Cir. 2020). The court

27   previously explained plaintiff’s Title IX claim failed because it included no allegations of the sort

28   the court discussed in Schwake, such as general pressures against the university to pursue Title IX

                                                      6



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1    investigations, trends of disciplinary proceedings being consistently decided against male
2    respondents or any other similar patterns or practice of sex discrimination. See generally Compl.
3    With regard to the disciplinary case against plaintiff’s son, the court previously explained plaintiff

4    failed to plead an atmosphere of bias against his son or evidence of a one-sided investigation.
5           Plaintiff’s proposed amendments are based on audits by the Institutional Response Group

 6   examining the CSU Title IX system. See Suppl. Brief at 3. The internal audits suggest the CSU

7    Title IX system lacked sufficient infrastructure, which hindered trust among students. Id. These

8    audits do not, however, show the indicia of sex discrimination against males that plaintiff asserts.
9    Moreover, the audits contain no information to support plaintiff’s assertion of procedural
10   irregularities in Camren’s case. Plaintiff’s proposed new allegations fall short of what is
11   necessary to state a claim.

12          Plaintiff’s request for leave to amend his Title IX claim and to add proposed new claims
13   II–VII is denied.

14   IV.    CONCLUSION

15          The motion to dismiss is granted. Plaintiff’s request for leave to amend is denied. All
16   dates and deadlines are vacated. The clerk of court is directed to close this case.
17          This order resolves ECF No. 51.

18          IT IS SO ORDERED.
19   DATED: December 6, 2024.


                                               SENIOR UNITED STATES DISTRICT JUDGE




                                                      7



                                         Exhibit "B"
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